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UNITED STATES DISTRICT COURT F‘ii.§t:‘ $\-' w D.C.
WESTERN DISTRICT OF TENNESSEE
Westero Division 05 JUL 2 6 PH l+= 2|
UNITED STATES OF AMERICA 4iii : ii ':"_'.iici-U
CLEF;&E, iii .iCi' CQUHT
-vs- Case No. 2:0§@2(61%*3 'EWa

KATHY L. COOK

 

ORDER APPOINTING COUNSEL PURSUAN'I` TO
'I`HE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOIN'I`MENT OF COUNSEL
~ The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' Probation/Supervised Release Violation

)L h
DONE and ORDERED in 167 North Main, Memphis, this 994 day of July, 2005.

v<@a¢/§w !<Q.Mzg

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

KATHY L. COOK

This dochent entered on the docket sheet ln compliance
with H\i|e 55 and/cr 32lbl FRCrP on ' guy

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 249 in
case 2:03-CR-20128 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

